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          EXHIBIT A
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. (E�ILED: ERIE COUNTY        CLERK 11/26/2024 03: 27 PM)                                      INDEX NO. 817543/2024
  NYSCEF DOC. NO. 1                                                                     RECEIVED NYSCEF: 11/26/2024




         STATE OF NEW YORK
         SUPREME COURT: COUNTY OF ERIE


         WIILIE ELLIS, as Administrator of the
         Estate of JAMES ELLIS, Deceased,
         18 Eggert Rd.,
         Buffalo, NY 14215,

                                       Plaintiff,                      SUMMONS

         vs.
                                                                      Index No.:
         ERIE COUNTY,
         95 Franklin Street
         Buffalo, New York 14202


         JOHN DOE 1 through 20 (said Erie County supervisor(s) and/or
         Erie County Sheriff Department supervisor(s) or employee(s) or staff on
         Duty involved in the incident on November 30, 2021 and/or
         underlying claims),

                                       Defendants.


         TO THE ABOVE NAMED DEFENDANTS:

                YOU ARE HEREBY SUMMONED to answer the Complaint in this action and to serve a
        copy of your answer, or, if the Complaint is not served with this Summons, to serve a notice of
        appearance, on the Plaintiffs Attorneys within TWENTY (20) DAYS after the service of this
        Summons, exclusive of the day of service (or within THIRTY (30) DAYS after the service is
        complete if this Smmnons is not personally delivered to you within the State of New York); and in
        case of your failure to appear or answer, judgment will be taken against you by default for the relief
        demanded in the Complaint.

                The basis of venue is plaintiffs residence which is located in Erie County, New York.




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         DATED:      Buffalo, New York
                     November 26, 2024

                                                      LIPSITZ GREEN SCIME CAMBRIA LLP

                                                        By: /s/ Melissa D. Wischerath
                                                        MELISSA D. WISCHERATH, ESQ.
                                                        Attorneys for Plaintiff
                                                        42 Delaware Avenue, Suite 120
                                                        Buffalo, New York 14202-3924
                                                        (716) 849-1333




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           STATE OF NEW YORK
           SUPREME COURT: COUNTY OF ERIE


          WILLIE ELLIS as Administrator of
          of the Estate of JAMES A. ELLIS,
          Deceased,


                                 Plaintiff,                               COMPLAINT

          vs.
                                                                    Index No.
          ERIE COUNTY,
          JOHN DOE 1 through 20 (said Erie County supervisor(s) and/or
          Erie County Sheriff Department supervisor(s) or employee(s) or staff on
          Duty involved in the incident on November 30, 2021 and/or
          underlying claims),


                                 Defendants.



                 These elementary principles establish the government's obligation to provide
                 medical care for those whom it is punishing by incarceration. An inmate must rely
                 on prison authorities to treat his medical needs; if the authorities fail to do so, those
                 needs will not be met. In the worst cases, such a failure may actually produce
                 physical 'torture or a lingering death ... '

          Estelle v Gamble, 429 US 97, 103, (U.S. 1976).




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                      Plaintiff, by and through his attorney, Melissa D. Wischerath of LIPSITZ GREEN SCIME

              CAMBRIA, LLP, hereby brings this Complaint and Jury Demand and alleges as follows:

                                                                 INTRODUCTION

                      1.       Erie County, Former Erie County Sheriff Howard, and current Erie County Sheriff

              Garcia, chose - for nearly two decades - to violate the constitutional rights of the people in their

          custody. 1

                      2.       Though under a legal duty to provide adequate medical care for those in his custody,

          Sheriff Garcia has publicly admitted "We're set up to fail, We don't have the means to give

          individuals that come through the doors adequate medical help ... " See, "Why Do People Keep

          Dying in Erie County's Jails?" available at https://newrepublic.com/article/171009/erie-county-

          sheriff-garcia-howard last accessed on June 9, 2023.

                      3.       Erie County, has knowingly and recklessly denied medical care to the men and

          women in the Erie County Holding Center (ECHC) for years, causing numerous investigations

          and deaths. 2

                     4.        In Februaiy of 2018, the New York State Commission of Correction, published

          "THE         WORST          OFFENDERS            REPORT:         THE       MOST       PROBLEMATIC               LOCAL

          CORRECTIONAL FACILITIES OF NEW YORK STATE." 3


          1
            See e.g., September 2009 US Department of Justice lawsuit against Erie County and Erie County Sheriff Timothy
          Howard available at https://www.justice.gov/archivc/opa/documents/e rie-complaint.pdf; US Department of Justice
          December 2014 Settlement With the County of Erie, New York to Prevent Disability Discrimination at the Erie
          County Jail available at https://www.justice.gov/file/ l 89161 /download last accessed on June 9. 2023; March 2021
          lawsuit filed by Attorney General James on behalf of the New York State Commission of Correction (SCOC)
          against Erie County and Erie County Sheriff Timothy Howard available at
          https ://ag.ny.gov/sites/default/fil es/2021.03.17 opening papers binder.pdf last accessed on August 7, 2024.

          2
              Id. The investigations, reports, and decrees are hereby incorporated by referenced as is more fully set forth herein.
          3
            https ://scoc.ny.gov/system/files/documents/2023/09/problematic-jails-report-2-2018.pdf last accessed on August
          7, 2024.

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                        5.   After years ofreview, the Commission identified the ECHC as one of the top five

              worst offenders for violating state and federal laws, explaining "the five local jails that are deemed

              the 'worst offenders' for being in violation of state law. These facilities pose an ongoing risk to

              the health and safety of staff and inmates and, in instances, impose cruel and inhumane treatment

              of detainees in violation of their Constitutional rights." At the time of the 2018 report, the NYS

              Commission had four open inmate mo1iality investigations at the Erie County Holding Center from

              2012-2018 involving: inadequate medical and mental health care; minimum standards violations;

          and excessive use of force against detainees experiencing a medical and/or mental health crisis in

              the jail. 4

                       6.    For the past 20 years, a detainee in the Holding Center in downtown Buffalo or the

          Erie County Correctional Facility in Alden died, on average, every four and a half months. 5

                       7.    Despite the state and constitutional mandates to provide detainees with adequate

          medical care and the staggering death rate, ECHC knowingly and recklessly lacks the means to

          give individuals that come through its doors adequate medical help.

                       8.    Since at least 2012, following the horrific and tragic death of Richard Metcalf, the

          Sheriff failed to provide its deputies with proper policy guidance and training on how to properly

          observe and attend to the medical needs of detainees subjected to prone restraint.

                                                                FACTS


                       9.    On November 30, 2021, James Ellis died of Complications of Metastatic

          Carcinoma of probable gastrointestinal primary while in the custody of the Erie County Sheriff at

          the Erie County Holding Center. He was 58-years-old.



          4
           Id.
          5
           Jail deaths substantially higher than reported available at https://www.invcstigativcpost.org/2024/09/10/eric-
          county-jail-deaths/ last accessed on November 26, 2024.

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                  10.      27 months after the death of James Ellis, on March 27, 2024, the Medical Review

           Board issued their findings regarding his death. "Although his death may not have been

           preventable, the Board did find that there were failures by the medical providers to recognize

           clinical indicators of serious disease process during Ellis' incarceration and to address his chronic

          medical complaints." The Medical Review Board's report for James Ellis is available here at

          https://scoc.ny.gov/system/files/documents/2024/04/ellis-james-erie-hc redacted.pdf               last

          accessed on November 26, 2024.

                  11.      As the Medical Review Board documented in its findings, Ellis had persistent

          gastrointestinal symptoms over the course of three weeks that could have been indicative of a more

          serious disease process. Id.

                  12.      Although it was warranted, no medical provider nor employee of the County

          refen-ed him to a physician for a gastroenterology consultation. Instead he continued to languish

          and vomit. Id.

                  13.      The Medical Review opined that there was a failure by medical staff to properly

          assess, failure to notify and consult with a physician and a grossly missed diagnosis. Additionally,

          the Medical Review Board questioned the credibility of the medical staffs' findings that Ellis clear

          lung sounds at both sick call encounters on 11/28/21 and 11/29/21 as the gross anatomic findings

          at autopsy revealed that Ellis had edematous lungs (right 1560 g / left 1260 g) with

          bronchopneumonia and a necrotic abscess of the right lung indicating possibly weeks of

          developing infection. The Medical Review Board opined that the cited failures collectively

          indicated inadequate supervision of the medical staff and health services delivery.

                  14.      A response to the preliminary report was received by the Commission on January

          29, 2024. The Medical Review Board stated, "[t]he quality care issues identified by the Medical



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          Review Board were not specifically addressed in the response. The Medical Review Board remains

           affinned in their findings and the identified issues in this case. Id.

                   15.    The County and/or employee(s) or staff on Duty involved in the care and treatment

          for Mr. Ellis during his incarceration and/or underlying claims) willful and deliberate indifference

          to James Ellis' serious medical needs, directly led to his death.

                  16.     Upon info1mation and belief, the County and/or employee(s) or staff on Duty

          involved in the care and treatment for Mr. Ellis during his incarceration and/or underlying claims)

          failed to: sufficiently monitor or treat, or supervise and/or train, those responsible for him;

          adequately screen or supervise and/or train, those responsible for screening him for medical

          conditions; failed to timely or adequately respond to requests for medical care or supervise and/or

          train, those responsible for him; and denied or delayed for excessive periods the provision of

          necessary chronic and specialty care, including transp01t to a hospital or supervise and/or train,

          those responsible for him.

                  17.     The defendants failure to provide adequate medical care resulted in the death of

          James Ellis.

                  18.     The County has been aware of the constitutionally and legally inadequate care and

          conditions in its jails for years, thereby possessing actual and constructive notice of these ongoing

          and recurring violations.

                  19.     Erie County is the appointing authority for the delivery of jail incarcerated

          individual health services pursuant to Correction Law section 501 for the ECHC.

                                                        PARTIES

                  20.     Plaintiff, at all times hereinafter mentioned was and still is a resident of the City of

          Buffalo located within the County of Erie and the State of New York.


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                  21.       On or about the 22nd day of November, 2024, plaintiff, Willie Ellis, was appointed

           temporary administrator of the Estate of James A. Ellis, pursuant to an Order of the Sunogate's

           Court of Erie County, and Temporary Letters Testamentary of the Estate of James A. Ellis were

           served on the plaintiff, and he is duly qualified and thereafter acted and is still acting as such

           administrator.

                  22.       Defendant, ERIE COUNTY (the "County") is a governmental subdivision created

           under the laws of the State of New York. The County is charged by the laws of the State of New

          York with authority to maintain the Erie County Holding Center (ECHC). The Erie County

          Holding Center in Buffalo, New York is a pretrial facility owned by Erie County; many people

          held there are not convicted of a crime.


                  23.       Upon information and belief, at all times hereinafter mentioned, defendant, JOHN

          DOE 1 through 20, were and still are residents of the County of Erie and the State of New York.

          He/she/they are sued in his/her/their official capacities.

                  24.       Upon infonnation and belief, at all times hereinafter mentioned, defendants, JOHN

          DOE l through 20, were hired and/or employed by defendants, Erie County and/or the Erie County

          Sheriff, and were acting within their authority as an Erie County Deputy Sheriff( s) and/ or officer( s)

          and/or staff and acting under color of state law.

                  25.       Upon info1mation and belief, at all times hereinafter mentioned, defendant Erie

          County is responsible for the supervision, administration, policy, practices, procedures, and

          customs of the Erie County medical providers, and is responsible for the hiring, training, discipline,

          and control of the ECHC staff.

                  26.       Upon info1mation and belief, the County, owned, maintained, operated, managed,

          directed, controlled, and staffed the Erie County Holding Center, located at 40 Delaware A venue


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           within the City of Buffalo, County of Erie, and State of New York, and is responsible for the care

           and custody of all detainees at said facility.

                  27.      Upon information and belief, at all times hereinafter mentioned, defendant County

           employed and controlled the individuals responsible for the hiring, training, and discipline deputies

          and staff, and also created, instituted, and oversaw enforcing the policies, practice, and procedures

          at issue in this action.

                  28.     Defendant, Erie County, was responsible for the hiring, training, supervision,

          discipline, retention, and promotion of employees of the ECHC staff.

                                       FIRST CAUSE OF ACTION
                             AGAINST ERIE COUNTY and JOHN DOE 1 through 20

                               42 U.S.C. §1983 AND FOURTEENTH AMENDMENT

                  (Deliberate Indifferent to Serious Medical Need in Violation of the Fourteenth
                                                   Amendment)

                  29.     Plaintiff incorporates by reference each and every allegation contained in the

          above paragraphs as if set fo1ih fully herein.

                  30.     James Ellis, while under the care, custody and control of Erie County, and JOHN

          DOE 1 through 20, at the ECHC, was caused to suffer serious injuries, due to their failure to

          ensure for and/or provide timely and proper medical treatment to him; in their failure to provide

          medications and proper medical treatment that he required; the denial of treatment by defendants

          amounts to deliberate indifference to a serious medical need, in violation of the Fourteenth

          Amendments' prohibition against cruel and unusual punishment and 42 U.S.C. § 1983; in their

          failure and refusal to make a reasonable accommodation by providing Mr. Ellis with access to

          proper treatment and medications, rather than prolonged illness, thereby discriminating against

          him on the basis of disability, even though accommodation would in no way alter the nature of



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           the healthcare program, and unconstitutionally deprived him of his liberty and he was otherwise

           tortuously and maliciously haimed by the actions of the defendants, all in violation of Title 42 of

          the United States Code, Section 1983 et. seq. and the AMERICANS WITH DISABILITIES

          ACT. Said negligent and improper delay in medical treatment led to the untimely and wrongful

          death of James Ellis on or around November 30, 2021.

                  31.     Mr. Ellis' repeated complaints of gastrointestinal distress over a three-week

          period; complaints of chest pain and unstable vital signs; 15 lbs. weight loss and repeated

          vomiting constituted a serious medical need.

                  32.     Upon info1mation and belief, defendant Erie County, and JOHN DOE 1 through

          20 failed to detect his acute illness and significant disease during his 9 weeks of incarceration

          even though the medical standard of care waii-ants it.

                  33.     Erie County, and JOHN DOE 1 through 20 knew of and disregarded or should

          have known of the excessive risk of harm to James Ellis ifhe was not provided prompt and

          appropriate medical treatment for his complaints.

                  34.     The failure to provide and/or denial of access to the standard of care caused James

          Ellis physical and psychological suffering and injuries resulting in death.

                  35.     The denial of treatment constitutes a deliberate indifference to a serious medical

          need, in violation of the Fourteenth Amendment and 42 U.S.C. § 1983.

                  36.     As a result of the foregoing, plaintiff has sustained general and special damages in

          an amount that exceeds the jurisdictional limits of all lower courts that would otherwise have

          jurisdiction.




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                                              SECOND CAUSE OF ACTION

                                                 AGAINST ERIE COUNTY

                       (Monell Claim-Municipal Liability Pursuant to 42 U.S.C. Section 1983)

                 37.          Plaintiff incorporates by reference each and every allegation contained in the

         above paragraphs as if set f01ih fully herein.

                38.           The County knew or should have known that their supervis01y policy as related to

         fitness of the medical providers in its jails was deficient.

                39.           Defendant, Erie County established, condoned, ratified, and/or encouraged

         customs, policies, patterns, and practices that directly and proximately caused the deprivation of

         the civil and constitutional rights of Plaintiffs decedent James Ellis, and the damages and

         injuries described herein. It did so with deliberate indifference to the rights of the detainee. These

         written and unwritten policies, customs, patterns, and practices included:

                         1.      Failing to adequately staff their department with sufficient physicians, staff,

                                 and employees (including health care workers), for welfare checks, medical

                                 assessment, monitoring, and medical treatment and transport.

                        11.      Failing to train, supervise and discipline physicians, staff, and employees at

                                 the ECHC responsible for welfare checks, medical assessment, monitoring,

                                 and medical treatment.

                       111.      Failing to utilize qualitative benchmarks to assess the quality of medical care

                                 ECHC provides to its detainees.

                       1v.       Failing to take steps to ensure that deputies, staff, and employees at the ECHC

                                 do not falsify welfare checks and/or medical assessments and logs.

                        v.       Failing to adequately staff their department with sufficient physicians, staff,

                                 and employees (including health care workers), for detainees with serious

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                               physical injuries suffered before presenting to defendant Erie County and its

                               employees, agents and/or representatives.

                         v1.   Failing to have in place, or failing to follow, a policy or procedure to prevent

                               physicians and/or nurses from denying detainees access to necessary medical

                               treatment.

                        v11.   Failing to properly screen, during the booking process, and supervise

                               thereafter, prisoner, imnate, and/or detainee for serious chronic and acute

                               medical conditions.

                       viii.   Failing and omitting to properly and in a timely manner administer, provide

                               and/or ensure for adequate medical treatment, including transpo11,

                               assessments, monitoring, examinations, and medications.

                         1x.   Failing to properly and in a timely manner respond to medical complaints,

                               symptoms, and requests for treatment.

                          x.   Deliberately, purposefully, and knowingly denying detainees access to

                               necessary medical treatment for acute and/or chronic medical conditions,

                               such as cancer.

                        xi.    Failing to properly and adequately train, supervise, instruct their employees,

                               staff and/or officers about the proper and timely medical treatment of

                               detainees; and in recognizing the signs and symptoms of acute disease and

                               chronic disease.

                       x11.    Failing to immediately seek a physician referral and/or hospital treatment for

                               detainees in need of it.

                       x111.   Failing to review or implement findings of the NYS Commission of

                               Correction pursuant to Correction Law section 501.




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                    40.     The County knew or should have known that the custom, policy, or practice of

           ignoring acute medical conditions was constitutionally infirm because of the known risks and

          death attributable to it, and because it delayed medical aid to those in need of it.

                    41.     The County knew or should.have known of these ongoing customs, policies, and

          practices.

                    42.     Despite having actual or constructive knowledge of these customs, policies, and

          practices, the County exhibited deliberate indifference to these ongoing policies, customs, and

          practices.

                    43.     A reasonable supervisor would conclude that the County's official policy to

          effectively not supervise its physicians and medical staff, and its custom, policy, or practice of

          ignore acute symptoms, would foreseeably result, by deliberate indifference, in the injuries

          and/or deaths of detainees such as Mr. Ellis (i.e., an individual with clearly-established medical

          needs).

                    44.     The above-described actions violated Mr. Ellis' clearly-established constitutional

          rights under the Eighth and Fourteenth Amendments to the United States Constitution.

                    45.     The particular injuries suffered by Ellis and his estate are the obvious

          consequence of the failure to supervise and its unconstitutional customs.


                                              THIRD CAUSE OF ACTION
                                               AGAINST ERIE COUNTY

                                      AMERICANS WITH DISABILITIES ACT

                       (Unlawful Discrimination Against Qualified Individuals with Disabilities)

                    46.    Plaintiff incorporates by reference each and eve1y allegation contained in the above



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         paragraphs as if set forth fully herein.

                 47.     Erie County Holding Center ("ECHC"), which is owned and/or operated by

         defendant, the County, is a public facility subject to the Americans with Disabilities Act (ADA).

                 48.     Cancer is a "disability" under the ADA. See 42 U.S.C. §12102 and 12131(2); 28

         C.F.R. §35.108.

                 49.     The ADA applies to individuals, such as James Ellis, who require or are receiving

         treatment for cancer.

                 50.     Defendants denied James Ellis, the benefit of medical programs through the Erie

         County Holding Center on the basis of his disability.

                 51.     Defendants refused to and/or failed to make a reasonable accommodation to Mr.

         Ellis, by providing him with a physician consultation, thereby discriminating against him on the

         basis of disability, even though accommodation would in no way alter the nature of the healthcare

         program.

                 52.     As a result of the foregoing, plaintiff has sustained general and special damages in

         an amount that exceeds the jurisdictional limits of all lower courts that would otherwise have

         jurisdiction.

                                               RELIEF REQUESTED

                 Plaintiff, respectfully requests that this Comi:


                             a. Exercise jurisdiction over plaintiffs claims and grant him a jury trial;

                             b.   Award plaintiff economic and non-economic damages, in an amount to be

                                  asce1iained according to proof, and interest on said sums from the date of

                                  Judgment;




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                          c. Award plaintiff punitive damages against the individual (non-municipal)

                              defendants in an amount sufficient to punish them and deter others from

                              similar conduct;

                         d. Award plaintiff reasonable attorney's fees and costs as provided by 42

                              U.S.C. § 1988; and

                         e.   Grant plaintiff such other and further relief as this Court deems just and

                              appropriate, including, declaratory and injunctive relief.




                      DATED:         Buffalo, New York


                      November 26, 2024

                                                           LIPSITZ GREEN SCIME CAMBRIA LLP

                                                            By: /s/ Melissa D. Wischerath
                                                            MELISSA D. WISCHERATH, ESQ.
                                                            Attorneys for Plaintiff
                                                            42 Delaware Avenue, Suite 120
                                                            Buffalo, New York 14202-3924
                                                            (716) 849-1333




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STATE OF NEW YORK
SUPREME COURT : COUNTY OF ERIE


WILLIE ELLIS, as Administrator of
the Estate of JAMES ELLIS, Deceased,

                               Plaintiff,

vs.                                                           Index No. 817543/2024

ERIE COUNTY,
JOHN DOE 1 through 20 (said Erie County supervisor(s) and/or
Erie County Sheriff Department supervisor(s) or employee(s) or
staff on Duty involved in the incident on November 30, 2021 and/or
underlying claims),

                               Defendants.


                  NOTICE OF COMMENCEMENT OF ACTION
                SUBJECT TO MANDA TORY ELECTRONIC FILING

       PLEASE TAKE NOTICE that the matter captioned above, which has been
commenced by filing of the accompanying documents with the County Clerk, is subject
to mandatory electronic filing pursuant to Section 202.5-bb of the Uniform Rules for the
Trial Courts. This notice is being served as required by Subdivision (b)(3) of that
Section.

        The New York State Courts Electronic Filing System ("NYSCEF") is designed
for the electronic filing of documents with the County Clerk and the court and for the
electronic service of those documents, court documents, and court notices upon counsel
and self-represented parties. Counsel and/or parties who do not notify the court of a
claimed exemption (see below) as required by Section 202.5-bb(e) must immediately
record their representation within the e-filed matter on the Consent page in NYSCEF.
Failure to do so may result in an inability to receive electronic notice of document filings.

        Exemptions from mandatory e-filing are limited to: ( 1) attorneys who certify in
good faith that they lack the computer equipment and (along with all employees) the
requisite knowledge to comply; and (2) self-represented parties who choose not to
pa1ticipate in e-filing. For additional information about electronic filing, including access
to Section 202.5-bb, consult the NYSCEF website at www.nycourts.gov/efile, or contact
the NYSCEF Resource Center (at 646-386-3033 or efile@comts.state.ny.us).
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Dated: December 2, 2024


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